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                                UNITED STATES DISTRICT COURT
6                              EASTERN DISTRICT OF WASHINGTON

7     UNITED STATES OF AMERICA,
8                         Plaintiff,               NO. CR-09-2035-EFS-1
                                                   NO. CR-09-2035-EFS-2
9                  v.
10    RICKY S. WAHCHUMWAH (1) and                  ORDER MEMORIALIZING ORAL
      VICTORIA M. JIM (2),                         RULINGS DISMISSING MBTA
11                                                 CHARGES AND DENYING AS MOOT
                          Defendants.              DISCOVERY MOTIONS
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14         A hearing occurred in this matter on August 12, 2009, in Yakima,

15   Washington.        Defendants Ricky S. Wahchumwah and Victoria M. Jim were

16   present     and    represented      by   J.    Adam    Moore    and   Thomas   Zeilman,

17   respectively.       Assistant United States Attorney Timothy Ohms appeared on

18   the Government’s behalf.          Before the Court were Defendant Jim’s Motion

19   to Dismiss Count 1 Under the Migratory Bird Treaty Act (Ct. Rec. 115) and

20   Defendant Wahchumwah’s Motion to Dismiss All Charges Alleged Under the

21   Migratory Bird Treaty Act (Ct. Rec. 103), Motion for Bill of Particulars

22   (Ct. Rec. 112), and Request for Expert Reports Pursuant to FRCrP 16(F)

23   and (G) (Ct. Rec. 113).           After reviewing the submitted material and

24   hearing   from     counsel,   the    Court     was    fully    informed.    This    Order

25   supplements and memorializes the Court’s oral rulings.

26   ///


     ORDER ~ 1
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1    A.   Defendants’ Motions to Dismiss

2         Defendants contend that they are not subject to the Migratory Bird

3    Treaty Act (MBTA), 16 U.S.C. §§ 703 and 707, and therefore those portions

4    of Count 1 and the forfeiture counts are to be dismissed.                      For the

5    reasons set forth in the Court’s August 13, 2009 Order in CR-09-2034 (Ct.

6    Rec. 107), the Court grants Defendants’ motions, finding that the MBTA

7    does not apply to Defendants because it did not abrogate the Yakama

8    Indians’ tribal rights to hunt migratory birds.              Yet, as the Court noted
9    in the Order, Yakama Indians do not have a tribal right to hunt eagles

10   for non-religious commercial purposes because eagles are a religious

11   symbol and therefore are to be used only for religious purposes.                    In

12   summary, the MBTA-dependent portions of Count 1 and the forfeiture counts

13   are dismissed.

14   B.   Defendant Wahchumwah’s Discovery Motions

15        Defendant Wahchumwah advised the Court that both of his discovery

16   motions were moot.        The motion for bill of particulars is moot because

17   the Court dismissed the MBTA charges, and the motion for expert reports

18   is moot because the Government agreed to produce the reports no later

19   than August 26, 2009.

20   C.   Conclusion

21        Accordingly, IT IS HEREBY ORDERED:

22        1.     Defendant Wahchumwah’s Motion to Dismiss All Charges Alleged

23   Under the Migratory Bird Treaty Act (Ct. Rec. 103) and Defendant Jim’s

24   Motion to Dismiss Count 1 Under the Migratory Bird Treaty Act (Ct. Rec.

25   115) are GRANTED.

26        2.     Defendant Wahchumwah’s Motion for Bill of Particulars (Ct. Rec.

     112) is DENIED AS MOOT.

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1          3.     Defendant Wahchumwah’s Request for Expert Reports Pursuant to

2    FRCrP 16(F) and (G) (Ct. Rec. 113) is DENIED AS MOOT.

3          IT IS SO ORDERED. The District Court Executive is directed to enter

4    this Order and provide copies to counsel.

5          DATED this       24th      day of August 2009.

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7                                     S/ Edward F. Shea
                                          EDWARD F. SHEA
8                                  United States District Judge
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     ORDER ~ 3
